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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 FLORENCE DIVISION

WANDA VANDERWALL                            )
                                            )
                              Plaintiff,    )    C.A. NO.
                                            )
vs.                                         )
                                            )    ERMC LLC’S NOTICE OF REMOVAL
COASTAL GRAND CMBS, LLC; ERMC               )
LLC; SECURAMERICA, LLC;                     )
KATRENA WHITE, BOTH                         )
INDIVIDUALLY AND AS AGENT FOR               )
COASTAL GRAND CMBS, LLC;                    )
HOLLIS TURNBULL, BOTH                       )
INDIVIDUALLY AND AS AGENT FOR               )
COASTAL GRAND CMBS, LLC; CBL &              )
ASSOCIATES PROPERTIES, INC.;                )
COASTAL GRAND, LLC; ERMC                    )
PROPERTY MANAGEMENT                         )
COMPANY OF ILLINOIS, LLC; AND               )
ERMC II, L.P.,                              )
                                            )
                              Defendants.   )

       PLEASE TAKE NOTICE that Defendant ERMC LLC (“ERMC”) hereby invokes the

removal jurisdiction of the United States District Court for the District of South Carolina on the

following grounds:

       FIRST: Plaintiff Wanda Vanderwall (“Plaintiff”) is a citizen and resident of Florida.

       SECOND: Upon information and belief, Defendant Coastal Grand CMBS, LLC is a

Delaware limited liability company with its principal place of business in South Carolina.

       THIRD: ERMC is a Delaware limited liability company with its principal place of business

in Tennessee.

       FOURTH: Defendant SecurAmerica, LLC is a Georgia limited liability company with its

principal place of business in Georgia.
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        FIFTH: Upon information and belief, Defendant Katrena White is a citizen and resident of

South Carolina.

        SIXTH: Upon information and belief, Defendant Hollis Turnbull is a citizen and resident

of South Carolina.

        SEVENTH: Upon information and belief, Defendant CBL & Associates Properties, Inc.

was a Delaware corporation with its principal place of business in Tennessee, dissolved on July

15, 1997.

        EIGHTH: Upon information and belief, Defendant Coastal Grand, LLC was a Delaware

limited liability company with its principal place of business in South Carolina, dissolved on

January 2, 2015.

        NINTH: Defendant ERMC Property Management Company of Illinois, LLC was an

Illinois limited liability company with its principal place of business in Tennessee, dissolved on

December 23, 2019.

        TENTH: Defendant ERMC II, L.P. was a Tennessee limited partnership with its principal

place of business in Tennessee, dissolved on December 23, 2019.

        ELEVENTH: Plaintiff first filed a Summons and Complaint (Exhibit A) in this action in

Horry County, South Carolina, on or about July 22, 2022, and subsequently served ERMC with

the same on August 8, 2022. The Complaint seeks damages for injuries allegedly caused by a

dangerous and/or defective condition at the Coastal Grand Mall, located at or near 2000 Coastal

Grand Circle, Myrtle Beach, South Carolina. ERMC is informed and believes that the above-

described action is a civil action over which this Court has original jurisdiction pursuant to 28

U.S.C. § 1332(a) in that it is a civil action wherein the matter amount in controversy, upon

information and belief, exceeds seventy-five thousand dollars ($75,000.00) and is between citizens




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of different states.

         TWELFTH: This Notice of Removal is filed pursuant to 28 U.S.C. §§ 1332(a)(1), 1441(b),

and 1446, and co-Defendants SecurAmerica, LLC, ERMC Property Management Company of

Illinois, LLC, and ERMC II, L.P. (all Defendants with whom ERMC has been able to communicate

with) consent to the removal.

         THIRTHEENTH: ERMC is providing the Clerk of Court from which this action was

removed with a copy of this Notice of Removal.

         WHEREFORE, ERMC prays that this Honorable Court accept this Notice of Removal and

hereby undertakes jurisdiction in the above-referenced case now pending in the Court of Common

Pleas for the County of Horry, State of South Carolina, that the same be removed to this Honorable

Court.



                                                 WILKES ATKINSON & JOYNER, LLC.

August 30, 2022                              By: s/Alex Joyner
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                                                 Attorneys for Defendants ERMC LLC;
                                                 SecurAmerica, LLC; ERMC Property
                                                 Management Company of Illinois, LLC; and
                                                 ERMC II, L.P.
Enclosures:
   a) Vanderwall v. Coastal Grand CMBS, LLC et al. Summons & Complaint (Exhibit A)
   b) ERMC’s Answers to Interrogatories pursuant to Local Civ. Rule 26.01 (D.S.C.)



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